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UNITED STATES DISTRICT COURT © US.pistrict court
NORTHERN atk OF TEXAS

FOR THE NORTHERN DISTRICT OF TEXA

MAY - 1 2023

AMARILLO DIVISION CLERK, U.S. DISTRICT COURT
AARON ABADI,
Plaintiff
Q2-23CV-074°2
V. CASE #

AMERICAN AIRLINES GROUP, INC.,
PJSC AEROFLOT — RUSSIAN AIRLINES
DBA AEROFLOT, AEROVIAS DE
MEXICO, S.A. DEC.V. DBA
AEROMEXICO, ALLEGIANT AIR, LLC,
ASIANA AIRLINES, AVIANCA S.A., AZUL
LINHAS AEREAS BRASILEIRAS S/A,
AUSTRIAN AIRLINES AG, AIR CANADA,
AIR CHINA LIMITED, BRITISH AIRWAYS
PLC, CATHAY PACIFIC AIRWAYS LTD.,
CHINA SOUTHERN AIRLINES COMPANY
LIMITED, DELTA AIR LINES, INC.,

EL AL ISRAEL AIRLINES LTD.,
EMIRATES, ETIHAD AIRWAYS PJSC
DBA ETIHAD AIRWAYS COMPANY,
EVA AIRWAYS CORPORATION,
FINNAIR OYJ, FRONTIER AIRLINES, INC.,
GULF AIR HOLDING B.S.C.,

IBERIA LINEAS AEREAS DE ESPANA,

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S.A. OPERADORA, SOCIEDAD
UNIPERSONAL, DBA IBERIA AIRLINES,
JETBLUE AIRWAYS CORPORATION,
ALIA - THE ROYAL JORDANIAN
AIRLINES COMPANY DBA ROYAL
JORDANIAN AIRLINES, KENYA AIRWAYS,
KOREAN AIR LINES CO., LTD,

LATAM AIRLINES GROUP S.A.,

LOT POLISH AIRLINES SA, LUFTHANSA
SYSTEMS AMERICAS, INC., SOUTHERN
AIRWAYS EXPRESS, LLC DBA MOKULELE
AIRLINES, PHILIPPINE AIRLINES,
QATAR AIRWAYS Q.C.S.C. DBA QUATAR
AIRWAYS Q.C.S.C. CORPORATION,
ROYAL AIR MAROC, LTD.,
SCANDINAVIAN AIRLINES OF NORTH
AMERICA INC. DBA SAS, SILVER
AIRWAYS, LLC, SINGAPORE AIRLINES,
SOUTHWEST AIRLINES CO., SPIRIT
AIRLINES, INC., SUN COUNTRY, INC.
DBA SUN COUNTRY AIRLINES,

SWISS INTERNATIONAL AIR LINES AG.,
AIR TAHITI NUI, TAP PORTUGAL, INC.,
TURKISH AIRLINES, INC., UNITED
AIRLINES, INC., FAST COLOMBIA S.A.S.
DBA VIVA AIR COLOMBIA,
CONCESIONARIA VUELA COMPANIA

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DE AVIACION, S.A.B. DEC.V. DBA
VOLARIS, MATTHEW ROBERTS,
ROY GOLDBERG, MIGUEL MOREL,
NATHALIE SIMON, MEDAIRE, INC.,
CENTER FOR EMERGENCY MEDICINE OF
WESTERN PENNSYLVANIA, INC., DBA
STATMD, ROBERT C. LAND, DEBBIE
CASTLETON, ANITA AYALA, JOSEPH R.
BIDEN, JR., PRESIDENT OF THE UNITED
STATES (IN HIS OFFICIAL CAPACITY)
NATIONAL INSTITUTES OF HEALTH,
ANTHONY STEPHEN FAUCI (FORMERLY
OF NIH IN HIS INDIVIDUAL CAPACITY),
CENTERS FOR DISEASE CONTROL &
PREVENTION, ROBERT RAY REDFIELD
JR. (FORMERLY OF CDC IN HIS
INDIVIDUAL CAPACITY), US
DEPARTMENT OF HEALTH & HUMAN
SERVICES, AND NUMEROUS UNNAMED
EMPLOYEES/REPRESENTATIVES
OF THE ABOVE DEFENDANTS AND
OTHER CONSPIRATORS AND
VIOLATORS TO BE DETERMINED
THROUGH DISCOVERY,

Defendants.

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JURY TRIAL REQUESTED

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COMPLAINT AND JURY DEMAND

Plaintiff, Aaron Abadi, brings this action pro se, against the defendants,
which are an overwhelming majority of the airlines that fly to, from, and within the
United States, their employees and representatives, including two attorneys
representing and assisting the airlines. Additionally, two medical organizations,
Medaire and STAT-MD, that assist and enable various airlines with their medical
policies and related medical needs and guidance. This complaint also includes
federal defendants that facilitated, assisted, aided and abetted, and caused the

problems in the first place.

Plaintiff is alleging that these defendants all discriminated against him due to
his disability which causes him not to be able to wear a mask, by not allowing him
to travel, and/or by requiring him to comply with multiple demands not required of
non-disabled people, and not necessary for safety reasons. They conspired to deny
him his civil rights, and neglected to prevent interference with his civil rights,

when they had that opportunity.

Plaintiff suffered significant losses due to these discriminations, including
serious business and employment related losses, emotional and personal distress,

the loss of his legal rights, the suffering that all this caused, and other significant
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and/or nominal losses. Defendants directly caused these injuries and are jointly and

severally liable for the damages caused.

Plaintiff requests injunctive relief, declaratory relief, compensatory
damages, punitive damages, and any other relief that the court shall determine,
and/or any relief that will become apparent and appropriate upon the exchange of
discovery.

Plaintiff is a pro se litigant and hopes that this complaint will be reviewed
liberally with that in mind. Plaintiff has put his best efforts to be clear and identify
the causes of action with their relation to each defendant. Plaintiff understands that
no one wants to see shotgun pleadings or any type of confusion, as it can be
difficult to understand and thus to respond. This complaint should be clear
enough, although pretty long. My apologies in advance. Thank you in advance for

your understanding.

PARTIES
1) Plaintiff, Aaron Abadi, is an American citizen, and is a citizen of the
State of New York. He resides in the City of New York. His address is 82 Nassau
Street, Apt. 140, New York, NY 10038.
2) Defendant, American Airlines Group, Inc.is incorporated in the State

of Delaware, and headquarters is located at 1 Skyview Drive, Fort Worth, Texas

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76155 (817)-963-1234. This is located in Tarrant County, which is under the
jurisdiction of the Northern District of Texas. It has significant and consistent
business in Amarillo, Texas, through its flights from the Amarillo Airport. Their
address there is 10801 Airport Blvd Amarillo, TX 79111.

3) Defendant PISC AEROFLOT — RUSSIAN AIRLINES DBA
AEROFLOT (“Aeroflot”), is a foreign airline with flights to and from the United
States. Passengers can book flights to and from Texas, that is then serviced
through partner airlines, for the part of the journey that this airline doesn’t operate
its own planes. Until recently, Aeroflot had a code-sharing arrangement with Delta
Airlines. Their United States registered address is 254 SEQUAMS LANE
CENTER, WEST ISLIP, NY, UNITED STATES, 11795.

4) Defendants Aerovias de México, S.A. de C.V. DBA Aeromexico
Airlines (“Aeromexico”), is a foreign airline with flights to and from the United
States. They operate flights out of Dallas Fort Worth Airport, and passengers can
book flights with them from Amarillo, which would be serviced by partner airlines,
for the part of the journey that this airline doesn’t operate its own planes. Their
Texas registered address is 2702 N LOOP W STE 410 HOUSTON, TX 77092-
8904. They have a location in the Dallas Fort Worth Airport, Terminal E.

5) Allegiant Air, LLC, (“Allegiant”), is a domestic airline in the United

States headquartered in Las Vegas, NV. It is wholly owned by its parent company,

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Allegiant Travel Company, incorporated in Nevada. It has flight routes to and from
Texas. Its registered address in Texas is 211 E. 7TH STREET SUITE 620
AUSTIN, TX 78701. It has significant and consistent business in Amarillo, Texas,
through its flights from the Amarillo Airport. Their address there is 10801 Airport
Blvd Amarillo, TX 79111.

6) Defendant Asiana Airlines Inc. (“Asiana”) is a South Korean airline
headquartered in Seoul, South Korea. It is a foreign airline with flights to and from
the United States. Passengers can book flights to and from Northern Texas
airports, that is then serviced through partner airlines, for the part of the journey
that this airline doesn’t operate its own planes. American Airlines is a partner
airline with flights from Amarillo & Dallas. Its USA registered address is at 3530
WILSHIRE BLVD, 1700, LOS ANGLES, CA, UNITED STATES, 90010.

7) Defendant AVIANCA S.A., (“Avianca”), is a foreign airline with
flights to and from the United States. Passengers can book flights to and from
Texas, that is then serviced through partner airlines, for the part of the journey that
this airline doesn’t operate its own planes. They have their own operations in
Houston Texas that are located at Terminal D at Houston Airport (AH). Their
Texas registered address is 501 THE MAIN BLDG HOUSTON, TX 77032. Their
Dallas address is 1639 W. 23rd St. Ste.300 DFW Airport, TX 75261.

8) Defendant Azul Linhas Aéreas Brasileiras S/A (“Azul”), is a Brazilian
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carrier based in Barueri, a suburb of Sao Paulo. It is a foreign airline with flights
to and from the United States. Passengers can book flights to and from Northern
Texas, that are then serviced through partner airlines, for the part of the journey
that this airline doesn’t operate its own planes. Its USA registered address is at 28
LIBERTY STREET, NEW YORK, NY, 10005. Additionally, Sabre Corporation
(NASDAQ: SABR), the leading technology provider to the global travel industry,
has signed an agreement with Azul Linhas Aereas Brasileiras to distribute Azul’s
fares via the Sabre GDS, which is based in Southlake, Texas, not far from Dallas
Fort Worth Airport.

9) Defendant Austrian Airlines AG (“Austrian”), is a foreign airline
based in Austria. It flies to and from the United States, and passengers can book
flights to and from Amarillo, Texas on Austrian’s website and they will fly them
through partner airlines, for the part of the journey that this airline doesn’t operate

its own planes. United Airlines is one of their partner airlines. Its U.S. address is

c/o LEGAL DEPARTMENT, 1400 RXR PLAZA WEST TOWER, UNIONDALE,

NY, UNITED STATES, 11556.

10) Defendant Air Canada is the flag carrier and the largest airline of
Canada by fleet size and passengers carried. Air Canada maintains its headquarters
in Saint-Laurent, Montreal, Quebec. Air Canada has flights to and from the United

States, including to DFW Airport in Texas. Passengers can book flights to and
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from Amarillo, Texas on this airline’s website and they will fly them through
partner airlines, for the part of the journey that this airline doesn’t operate its own
planes. United Airlines is one of their partner airlines. Its local address in Dallas,
Texas is at Terminal E at Dallas Fort Worth Airport (DFW), DFW Airport, TX,
75261.

11) Defendant AIR CHINA LIMITED (“Air China”), is a foreign airline
with flights to and from the United States. Passengers can book flights to and from
Texas on their website, that is then serviced through partner airlines, for the part of
the journey that this airline doesn’t operate its own planes. Their Texas registered
address is 701 BRAZOS SUITE 1050 AUSTIN, TX 78701. As per their own
website, they have two offices in Houston, TX, one at 3800 Buffalo Speedway
Suite 405, Houston, TX 77098, and the other at Houston Airport Office Terminal
D, George Bush Intercontinental Airport, Houston, TX 770372.

12) Defendant British Airways PLC (“British Air’) is a foreign airline
based in the United Kingdom. They are based at Waterside Box 365,
Harmondsworth, United Kingdom. They have a New York office at 11 West 42"
Street, 24'" Floor, New York, NY 10036. It flies to and from the United States, and
passengers can book flights to and from Amarillo, Texas on British Air’s website

and they will fly them through partner airlines, for the part of the journey that this

airline doesn’t operate its own planes. American Airlines is one of their partner
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airlines. They operate direct flights under their own flag out of Houston, Texas.
Their registered address in Northern Texas is, 1999 BRYAN ST., STE. 900
DALLAS, TX 75201.

13) Defendant Cathay Pacific Airways Ltd. (“Cathay Pacific”), more
widely known as Cathay Pacific, is the flag carrier of Hong Kong, with its head
office and main hub located at Hong Kong International Airport. It has operations
in Northern Texas, and its Texas office is located at SUITE 301, 2520 WEST
AIRFIELD DRIVE DFW AIRPORT, TX 75261.

14) Defendant China Southern Airlines Company Limited (China
Southern”) is an airline headquartered in Baiyun District, Guangzhou, Guangdong
Province and is the largest airline in China. It is a foreign airline with flights to and
from the United States. Passengers can book flights to and from Northern Texas,
that are then serviced through partner airlines, for the part of the journey that this
airline doesn’t operate its own planes. American Airlines is one of their partner
airlines. Their office in New York is at 295 MADISON AVENUE; SUITE 4500,
NEW YORK, NY, UNITED STATES, 10017.

15) Defendant Delta Air Lines, Inc. (“Delta”), is one of the major airlines
of the United States and a legacy carrier. One of the world's oldest airlines in
operation, Delta is incorporated in Delaware, and headquartered in Atlanta,

Georgia. It has operations in DFW Airport in Northern Texas. Its registered
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address in Texas is 211 E. 7TH STREET SUITE 620 AUSTIN, TX 78701.

16) Defendant, EL AL ISRAEL AIRLINES LTD. (“ELAL”), is a foreign
airline with flights to and from the United States. Passengers can book flights to
and from Northern Texas, that are then serviced through partner airlines, for the
part of the journey that this airline doesn’t operate its own planes. American is one
of their partner airlines. They operate codeshare flights to and from Dallas Fort
Worth Airport. Its USA office is currently located at New York Sales office
Address: 100 Wall Street, 4th floor, New York, NY 10005 Phone (212) 852 0708.

17) Defendant Emirates is an international airline based in Dubai, in the
United Arab Emirates that has multiple flights to and from the United States. They
have non-stop flights from Dallas to Dubai, UAE. Emirates uses Terminal D at
Dallas Fort Worth Airport (DFW). Their Texas address is at 3700 North Terminal
Road George Bush Intercontinental Airport, Terminal D, Houston, TX.770372.

18) Defendant ETIHAD AIRWAYS PJSC DBA ETIHAD AIRWAYS
COMPANY (“Etihad”) is an international airline based in Khalifa City A, near
Abu Dhabi City, in the United Arab Emirates. Its Texas registered address is 211
E. 7TH STREET, SUITE 620 AUSTIN, TX 78701. Passengers can book flights to
and from Northern Texas, that are then serviced through partner airlines, for the
part of the journey that this airline doesn’t operate its own planes. American is one

of their partner airlines. Its Texas operations are located at 3200 E. Airfield Drive

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DFW Airport, Texas 75261.

19) Defendant Eva Airways Corporation (“EVA”) is a foreign airline with
operations and flights to and from the United States. Passengers can book flights
to and from Northern Texas, that are then serviced through partner airlines, for the
part of the journey that this airline doesn’t operate its own planes. Alaska Airlines
is one of their partner airlines. Its registered address in Texas is 1999 BRYAN ST.,
STE. 900 DALLAS, TX 75201

20) Defendant Finnair OYJ, (“Finnair”), is a foreign airline based in
Finland. It flies to and from the United States, and passengers can book flights on
their website, to and from Texas through partner airlines, for the part of the journey
that this airline doesn’t operate its own planes. It operates direct flights from
Dallas Fort Worth Airport. Its U.S. address is 11 W 42ND ST FL 24 NEW YORK,
NY 10036-8002.

21) Defendant FRONTIER AIRLINES, INC. (“Frontier”) is a domestic
airline in the United States, which is incorporated in and headquartered in
Colorado. It has multiple flight routes to and from Northern Texas. Its registered
address in Texas is 211 E. 7TH STREET SUITE 620 AUSTIN, TX 78701.

22) Defendant GULF AIR HOLDING B.S.C (“Gulf Air’), is a foreign
airline with flights to and from the United States. Passengers can book flights to

and from Amarillo, Texas, that are then serviced through partner airlines, for the
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part of the journey that this airline doesn’t operate its own planes. Their office in
Texas is at 3050 Post Oak Blvd, Suite 1320, Houston, TX 77056.

23) Defendant Iberia Lineas Aéreas de Espafia, S.A. Operadora, Sociedad
Unipersonal, DBA Iberia Airlines (“Iberia’’), is a flagship airline based in Spain
with flights to and from the United States. Passengers can book flights to and from
Northern Texas, that are then serviced through partner airlines, for the part of the
journey that this airline doesn’t operate its own planes. American Airlines is one of
their partner airlines. It maintains a U.S. office at 1 World Way, Los Angeles, CA
90045.

24) Defendant JetBlue Airways Corporation (“JetBlue”) is a Delaware
corporation, and has its offices in New York City, Utah, and Florida. It has a
registered address in Texas at 211 E. 7th Street, Suite 620 Austin, TX 78701.
JetBlue is a mostly domestic airline that flies throughout the United States, with
many routes to international destinations. Passengers can book flights to and from
Northern Texas, that are then serviced through partner airlines, for the part of the
journey that this airline doesn’t operate its own planes. American Airlines is one of
their partner airlines.

25) Defendant Alia — The Royal Jordanian Airlines Company, DBA
Royal Jordanian Airlines (“Jordanian”) is an international airline based in Jordan

with flights to and from the United States. Passengers can book through them
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directly to and from Dallas, Texas, and they will fly them through a partner airline,
for the part of the journey that this airline doesn’t operate its own planes.
American Airlines is one of their partner airlines. Their U.S. office is located at
355 LEXINGTON AVE, F1.14 New York, NY 10017.

26) Defendant Kenya Airways (“Kenya”), having headquarters in
Embakasi, Nairobi Kenya and its USA corporate office address is at Empire State
Building, 350 Sth Ave, New York, NY 10118, USA. Kenya has direct flights to
and from the United States, and passengers can book flights to and from Amarillo,
Texas to fly to Kenya and beyond which will in turn fly those passengers through
partner airlines, for the part of the journey that this airline doesn’t operate its own
planes.

27) Defendant KOREAN AIR LINES CO., LTD (“Korean”), is an
international airline based in South Korea, with flights to and from the United
states. Passengers can book through them directly to and from Dallas, Texas, and
they will fly them through a partner airline, for the part of the journey that this
airline doesn’t operate its own planes. Delta & Alaska Airlines are some of their
partner airlines. Its Texas registered address is 2333 S.SSERVICE RD. TERMINAL
D, UL D17, ROOM 334 DALLAS, TX 75261.

28) Defendant LATAM Airlines Group S.A. (“LATAM”) is an airline

holding company headquartered in Santiago, Chile. It is considered the largest

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airline in Latin America with subsidiaries in Brazil, Colombia, Ecuador, Paraguay
and Peru. Passengers can book through them directly to and from Dallas, Texas,
and they will fly them through a partner airline, for the part of the journey that this
airline doesn’t operate its own planes. Delta Airlines is one of their partner
airlines. It maintains a U.S. office at Los Angeles International Airport 380 World
Way, Los Angeles, California 90045.

29) Defendant Lot Polish Airlines SA (“LOT”), is a foreign airline based
in Poland with flights to and from the United States. Passengers can book through
them directly to and from Dallas, Texas, and they will fly them through a partner
airline, for the part of the journey that this airline doesn’t operate its own planes.
United Airlines is one of their partner airlines. Their registered address is in New
York State at C/O CONDON AND FORSYTH LLP, 7 TIMES SQUARE, SUITE
1800, NEW YORK, NY, UNITED STATES, 10036.

30) Defendant Lufthansa Systems Americas, Inc. (“Lufthansa”), is a
foreign airline with operations and flights to and from Germany. Passengers can
book through them directly to and from Amarillo, Texas, and they will fly them
through a partner airline, for the part of the journey that this airline doesn’t operate
its own planes. United Airlines is one of their partner airlines. They have their

own operations in Houston, TX, including their own direct flights to Germany. Its

registered address in Texas is 1999 BRYAN ST., STE. 900 DALLAS, TX 75201.

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31) Defendant SOUTHERN AIRWAYS EXPRESS, LLC DBA Mokulele
Airlines (“Mokulele”) is a domestic airline incorporated in Delaware, and
headquartered in Hawaii. Passengers can book through them directly to and from
Amarillo, Texas, and they will fly them through a partner airline, for the part of the
journey that this airline doesn’t operate its own planes. American Airlines is one
of their partner airlines. It is located at 355 Hukilike Street, Suite 103 Kahului, HI
96732-2973.

32) Defendant PHILIPPINE AIRLINES (“Philippine”), is a foreign airline
with flights to and from the United States. Passengers can book through them
directly to and from Dallas, Texas, and they will fly them through a partner airline,
for the part of the journey that this airline doesn’t operate its own planes. Delta &
American Airlines are some of their partner airlines. Their USA office is at 5959
West Century Blvd., Suite 600 Los Angeles, CA 90045.

33) Defendant QATAR AIRWAYS Q.C.S.C. DBA QUATAR
AIRWAYS Q.C.S.C. CORPORATION (“Qatar”), is an international airline based
in Qatar, with flights to and from the United States. Passengers can book through
them directly to and from Amarillo, Texas, and they will fly them through a
partner airline, for the part of the journey that this airline doesn’t operate its own
planes. American Airlines is one of their partner airlines. They have their own

operations in Dallas, TX, including their own direct flights to Qatar. Its Texas
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registered address is 211 E. 7TH STREET, SUITE 620 AUSTIN, TX 78701.

34) Defendant Royal Air Maroc, LTD. (Maroc”), is a foreign airline with
flights to and from the United States, and passengers can book flights to and from
Texas directly through Maroc, which will in turn fly those passengers through
partner airlines. American Airlines is one of their partner airlines. Their USA
office is ata ONE ROCKEFELLER PLAZA, SUITE 1630, NEW YORK, NY,
UNITED STATES, 10020.

35) Defendant SCANDINAVIAN AIRLINES OF NORTH AMERICA
INC. DBA SAS (“SAS”), is a foreign airline with flights to and from the United
States. Passengers can book flights to and from Texas, that is then serviced
through partner airlines. Passengers can book through them directly to and from
Amarillo, Texas, and they will fly them through a partner airline, for the part of the
journey that this airline doesn’t operate its own planes. United and American
Airlines are some of their partner airlines. Their Texas registered address is 206 E.
9TH STREET, SUITE 1300 AUSTIN, TX 78701.

36) Silver Airways LLC, (“Silver”) is a United States regional airline
incorporated in Delaware, with its headquarters in Fort Lauderdale—Hollywood
International Airport in Broward County, Florida, near Fort Lauderdale. On
November 9, 2021, Silver Airways began contract flying for Amazon Air with

feeder flights from Albuquerque, New Mexico and Des Moines, Iowa to Amazon's
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hub at the Fort Worth Alliance Airport near Fort Worth, Texas. It has substantial
business in Texas. Its registered address in Texas is 1999 BRYAN ST SUITE 900
DALLAS, TX 75201.

37) Singapore Airlines (“SIA”) is the flag carrier airline of Singapore with
its hub at Singapore Changi Airport. Passengers can book through them directly to
and from Dallas, Texas, and they will fly them through a partner airline, for the
part of the journey that this airline doesn’t operate its own planes. JetBlue, United,
& Alaska Airlines are some of their partner airlines. Its Texas address is 3870 N
Terminal Rd, Houston, TX 77032, United States. It runs flights to and from the
United States.

38) Defendant Southwest Airlines Co. (“Southwest”) has a location at
2702 Love Field Dr. # HDQ6TX Dallas, TX 75235-1908, which is under this
court’s jurisdiction. It has significant and consistent business in Amarillo, Texas,
through its flights from the Amarillo Airport. Their address there is 10801 Airport
Blvd Amarillo, TX 79111. Southwest is a mostly domestic airline that flies
throughout the United States, with several routes to international destinations. It is
incorporated in Texas and headquartered in Dallas, Texas.

39) Defendant SPIRIT AIRLINES, INC. (“Spirit”), is an airline that has
multiple operations in Texas, including at the Dallas Fort Worth Airport in Dallas,

TX. Its Texas registered address is 211 E. 7TH STREET SUITE 620 AUSTIN,

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TX 78701. It is incorporated in the State of Delaware, and headquartered in
Florida, at 2800 Executive Way, Miramar, Florida.

40) Defendant Sun Country, Inc. DBA Sun Country Airlines (Sun
Country”), is a domestic airline with flights to and from Dallas and other cities. Its
registered address is 129 S. IRVING SAN ANGELO, TX 76902. It has operations
out of Dallas Fort Worth Airport, in Texas. It is incorporated in and headquartered
in Minnesota.

41) Defendant Swiss International Air Lines AG (“Swiss Air’), is a
foreign airline with flights to and from the United States. Passengers can book
through them directly to and from Amarillo, Texas, and they will fly them through
a partner airline, for the part of the journey that this airline doesn’t operate its own
planes. United Airlines is one of their partner airlines. Their Texas registered
address is 14694 FM 1050 UTOPIA, TX 78884.

42) Defendant Air Tahiti Nui, (“Air Tahiti”), is a foreign airline with
direct flights to and from the United States. Passengers can book through them
directly to and from Dallas, Texas, and they will aly them through a partner airline,
for the part of the journey that this airline doesn’t operate its own planes.
American Airlines is one of their partner airlines. Its U.S. address is at 5901 WEST

CENTURY BLVD. SUITE 1414 LOS ANGELES CA 90045.

43) Defendant TAP Portugal, Inc. (“TAP”), is the airline of Portugal,
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headquartered at Lisbon Airport which also serves as its hub. It is a foreign airline
with flights to and from the United States. Passengers can book through them
directly to and from Dallas, Texas, and they will fly them through a partner airline,
for the part of the journey that this airline doesn’t operate its own planes.
American, JetBlue, and United Airlines are some of their partner airlines. Their
Texas registered address is 263 Lafayette Street, 3rd FL Newark, NJ 07105.

44) Defendant Turkish Airlines, Inc. (“Turkish”), is a foreign airline with
flights to and from the United States. Passengers can book through them directly to
and from Amarillo, Texas, and they will fly them through a partner airline, for the
part of the journey that this airline doesn’t operate its own planes. United Airlines
is one of their partner airlines. Their USA office is at 1400 OLD COUNTRY RD
STE 304 WESTBURY, NY 11590-5119.

45) Defendant, United Airlines, Inc. (United Airlines”) is a domestic and
international United States airline, and has a significant and consistent business in
Amarillo, Texas, through its flights from the Amarillo Airport. Their address there
is 10801 Airport Blvd Amarillo, TX 79111. It is incorporated in Delaware, and
headquartered at the Willis Tower in Chicago, IIlinois.

46) Fast Colombia S.A.S., DBA Viva Air Colombia (“Viva”) and
formerly Viva Colombia, is a Colombian low-cost airline based in Rionegro,

Antioquia, Colombia. It is a subsidiary of Irelandia Aviation and third largest
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airline in the country. They have international flights to and from the United
States. You can book flights from their website to and from Dallas Texas, and they
will fly them through a partner airline, for the part of the journey that this airline
doesn’t operate its own planes. Spirit Airlines is one of their partner airlines. Their
USA address is CT CORPORATION SYSTEM 1200 SOUTH PINE ISLAND
ROAD PLANTATION, FL 33324.

47) Concesionaria Vuela Compaifiia de Aviacion, S.A.B. de C.V. DBA
Volaris (“Volaris”), is a Mexican low-cost airline based in Santa Fe, Alvaro
Obregon, Mexico City. It has flights to and from the United States. It has
operations out of Dallas Fort Worth Airport, in Texas, amongst other business in
Texas. Its Texas registered address is 9800 AIRPORT BLVD. SAN ANTONIO,
TX 78216.

48) Matthew Roberts (“Roberts”) is the Airport Manager for British Air at
Washington Dulles Airport and at the Baltimore International Airport. His mailing
address is P.O. Box # 17286, Washington, DC 20041. He has identified himself as
the Complaints Resolution Officer for British Air. He was instrumental in
implementing the alleged discriminatory actions, and he was the one to convey
them to the Plaintiff on behalf of his employer, British Air. He is a citizen of the
United Kingdom.

49) Defendant, Roy Goldberg (“Goldberg”) is an attorney with STINSON
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LLP, located at 1775 Pennsylvania Avenue, N.W. Suite 800, Washington, D.C.
20006 (202) 728-3005 Email: roy.goldberg@stinson.com. He represents American
Airlines in a case where Plaintiff initially tried to join, but eventually withdrew. In
this case, however, he is listed as a defendant. Plaintiff alleges that this defendant
advised the airline to discriminate against him. He personally participated in the
denying of Plaintiff access to fly, and in treating him differently than non-disabled
passengers, and is directly responsible for the injuries that were sustained by
Plaintiff. It is upon Plaintiff's information and belief that he is a citizen of the
District of Columbia.

50) Defendant Miguel Morel (“Morel”) is an attorney with STINSON
LLP, located at Wells Fargo Center, 333 SE 2nd Avenue, Suite 2700, Miami, FL
33131. He represented Spirit Airlines in a case where Plaintiff initially tried to join,
but eventually withdrew. Plaintiff alleges that this defendant advised the airline to
discriminate against him. He personally participated in the denying of Plaintiff
access to fly, and in treating him differently than non-disabled passengers, and is
directly responsible for the injuries that were sustained by Plaintiff. It is upon
Plaintiff's information and belief that he is a citizen of the State of Florida.

51) Defendant Nathalie Simon (“Simon”) is an employee of Delta in their
Customer Care Department. Her work address is Delta Air Lines, Inc. 1030 Delta

Boulevard Atlanta, Ga 30354-1989. She was a participant in the alleged

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discriminations and related claims, presumably on behalf of Delta. It is upon
Plaintiff's information and belief that she is a citizen of Georgia.

52) Defendant MedAire, Inc. (““Medaire”) is a Nevada Corporation that
describes itself as a medical advisory group delivering “integrated medical and
security solutions for airlines that includes training, equipment, and professional
services for crew and passengers beyond the cabin.” Its headquarters is at Suite
450, 4722 North 24th St., Phoenix, AZ 85016. It was a participant in many of the
airlines’ discrimination processes and in the overall conspiracy.

53) Defendant Center for Emergency Medicine of Western Pennsylvania,
Inc., DBA STATMD (“Stat-MD”) describes itself as providing “Airline
Consultation Services” including in-flight emergency consultation as well as
fitness-to-fly ground screening. STAT-MD is a nonprofit organization backed by
the resources of the University of Pittsburgh Medical Center. Its headquarters is at
200 Lothrop St. #F1301, Pittsburgh, PA 15213, and it is incorporated in
Pennsylvania. It was an active participant in many of the airlines’ discrimination
processes and in the overall conspiracy.

54) Defendant Robert C. Land (“Land”), is the Senior Vice President
Government Affairs and Associate General Counsel for JetBlue. His address is at
JetBlue 2701 Queens Plaza N. STE 1 Long Island City, NY 11101-4021. He was

the person who responded to Plaintiff’s Department of Transportation (“DOT”)
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complaint in a letter, confirming that he cannot fly with JetBlue, due to his
disability.
55) Debbie Castleton (“Castleton”) works in customer support for

JetBlue. Her address is at JetBlue 2701 Queens Plaza N. STE 1 Long Island City,

NY 11101-4021. She was the person who responded to Plaintiffs request in an
email, confirming that he cannot fly with JetBlue, due to his disability. It is upon
Plaintiff's information and belief that she is a citizen of New York.

56) Anita Ayala is the Complaint Resolution Official (“CRO”) for the
Customer Relations North America, of Lufthansa. She denied Plaintiff access to fly
with the airline, without fulfilling several requirements that are in violation of the
Air Carrier Access Act (“ACAA”). Her address is at Lufthansa German Airlines
1400 RXR Plaza West Tower 14th Floor Uniondale, NY 11556. It is upon
Plaintiff's information and belief that she is a citizen of New York.

57) Defendant Biden is the President of the United States and is sued in
his official capacity only. His address is The White House 1600 Pennsylvania
Avenue NW Washington, DC 20500.

58) Defendant, NATIONAL INSTITUTES OF HEALTH (“NIH”), is
located at 9000 ROCKVILLE PIKE, BETHESDA, MARYLAND 20892. The
National Institutes of Health, is a part of the U.S. Department of Health and

Human Services, and it is the nation’s medical research agency. Their decisions
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and actions are utilized and followed throughout the entire country, and often
across the globe. Much of the claims herein are based on decisions by this agency.

59) Defendant Anthony Stephen Fauci (FORMERLY OF NIH IN HIS
PERSONAL CAPACITY) (“Dr. Fauci”), is an American physician-scientist and
immunologist who served as the director of the National Institute of Allergy and
Infectious Diseases (NIAID) part of the NIH, from 1984 to 2022, and was the chief
medical advisor to the president from 2021 to 2022. His office address is 31 Center
Dr Bldg 31 Bethesda, MD 20892. His decisions and actions were utilized and
followed throughout the entire country, and often across the globe. Much of the
claims herein are based on decisions by this person.

60) Defendant, CENTERS FOR DISEASE CONTROL & PREVENTION
(“CDC”), is the nation’s leading science-based, data-driven, service organization
that protects the public’s health. It is a division of the U.S. Department of Health
and Human Services. It is headquartered at 1600 CLIFTON ROAD, ATLANTA,
GA 30329. Their decisions and actions are utilized and followed throughout the
entire country, and often across the globe. Much of the claims herein are based on
decisions by this agency, their guidelines, and/or mandates.

61) Defendant Robert Ray Redfield Jr. (“Dr. Redfield”), (FORMERLY
OF CDC BEING SUED IN HIS PERSONAL CAPACITY), is an American

virologist who served as the director of the Centers for Disease Control and
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Prevention and the administrator of the Agency for Toxic Substances and Disease
Registry from 2018 to 2021. His office address is currently listed as 725 W
Lombard St Baltimore, MD 21201. His decisions and actions were utilized and
followed throughout the entire country, and often across the globe. Much of the
claims herein are based on decisions by this person.

62) Defendant US DEPARTMENT OF HEALTH & HUMAN
SERVICES (“HHS”), is located at 200 INDEPENDENCE AVENUE, S.W.,
WASHINGTON, D.C. 20201. It is the parent agency of NIH and CDC. It is a
cabinet-level executive branch department of the U.S. federal government created
to protect the health of the U.S. people and providing essential human services. Its
motto is "Improving the health, safety, and well-being of America". Their
decisions and actions are utilized and followed throughout the entire country, and
often across the globe. Much of the claims herein are based on decisions by this
agency, their guidelines, and/or mandates.

63) There were several other employees of the defendants such as
executives, attorneys, and employees that participated in the discrimination and
harassment of this Plaintiff, and also others that will be uncovered during

discovery. Once their information is received, I will then ask this court for leave to

add them as additional defendants.

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BASIS FOR JURISDICTION, VENUE, & STANDING

64) Federal Question: This Court has jurisdiction over this case
under 28 U.S.C. § 1331: “The district courts shall have original jurisdiction of all
civil actions arising under the Constitution, laws, or treaties of the United States.”
These claims arise under the US Constitution, the Administrative Procedure Act, the
Air Carrier Access Act (““ACAA”) 14 CFR § 382., 49 USC § 41705, 42 U.S. Code
§ 1983 Civil action for deprivation of rights, 42 U.S. Code § 1985 - Conspiracy to
interfere with civil rights, 42 U.S. Code § 1986, and Section 504 of the Rehabilitation
Act of 1973 - 29 U.S.C. § 794, amongst other federal claims.

65) Diversity of Citizenship: The claims are in excess of $75,000 and are
against citizens of different states, and are therefore subject to the jurisdiction of this
court. 28 USC §1332. “The district courts shall have original jurisdiction of all civil
actions where the matter in controversy exceeds the sum or value of $75,000,
exclusive of interest and costs, and is between—{1) citizens of different States. (2)
citizens of a State and citizens or subjects of a foreign state,”

66) Plaintiff is a citizen of New York State, Defendants are almost all based
in other states, and incorporated in other states, as detailed above in the descriptions
of each party.

67) Civil Rights: The District Courts have jurisdiction over this case,

because it is a civil rights action, pursuant to 28 U.S. Code § 1343 - Civil rights and

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elective franchise: (a)The district courts shall have original jurisdiction of any civil
action authorized by law to be commenced by any person:

(1) Torecover damages for injury to his person or property, or because of
the deprivation of any right or privilege of a citizen of the United States, by any act
done in furtherance of any conspiracy mentioned in section 1985 of Title 42;

(2) To recover damages from any person who fails to prevent or to aid in
preventing any wrongs mentioned in section 1985 of Title 42 which he had
knowledge were about to occur and power to prevent;

(3) To redress the deprivation, under color of any State law, statute,
ordinance, regulation, custom or usage, of any right, privilege or immunity secured
by the Constitution of the United States or by any Act of Congress providing for
equal rights of citizens or of all persons within the jurisdiction of the United States;

(4) Torecover damages or to secure equitable or other relief under any Act
of Congress providing for the protection of civil rights, including the right to vote.

68) Specific Personal Jurisdiction: “A more limited form of submission
to a state's authority, referred to as “specific jurisdiction,” applies only in cases of
disputes that “arise out of or are connected with the activities within the state.” Int'l
Shoe, 326 U.S. at 319, 66 S.Ct. 154.” Loyalty Conversion Systems Corporation v.
American Airlines, Inc. (E.D. Tex. 2014) 66 F.Supp.3d 813, 819.

69) This Plaintiff wanted to fly from Amarillo, Texas, and to and from

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many other states. These Defendants all conspired to deny him the ability to fly,
and/or deny him the ability to utilize the airlines and transportation options in the
same manner or similar to the non-disabled in violation of the statutes listed herein.
Plaintiff had been planning a specific trip to California, to then drive to Amarillo,
Texas, and from there fly to Europe and Asia. This gives this Court specific
jurisdiction over this lawsuit.

70) Every airline listed as a defendant either flies directly out of Amarillo,
Texas, or any person can book a flight on their website from Amarillo, and the airline
will fly them through partner airlines.

71) Personal Jurisdiction because of Texas long-arm statute. Federal courts
ordinarily follow state law in determining the bounds of their jurisdiction over
persons. See Fed. Rule Civ. Proc. 4(k)(1)(A) (service of process is effective to
establish personal jurisdiction over a defendant “who is subject to the jurisdiction of

a court of general jurisdiction in the state where the district court is located”).
Daimler AG v. Bauman (2014) 571 U.S. 117, 125 [134 S.Ct. 746, 753, 187 L.Ed.2d
624].

72) The Texas Long Arm Statute contains the following; “Sec. 17.042.
ACTS CONSTITUTING BUSINESS IN THIS STATE. In addition to other acts
that may constitute doing business, a nonresident does business in this state if the

nonresident: (1) contracts by mail or otherwise with a Texas resident and either

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party is to perform the contract in whole or in part in this state; (2) commits a tort
in whole or in part in this state...” The defendants herein all were doing business in
the State of Texas. The airlines together with their employees, all offer flights from
Amarillo, and other airports in Texas. The medical defendants offer their medical
services on most of those flights. The attorneys for the airlines participated in
discrimination by not allowing Plaintiff to fly from Texas, and their business with
the airlines that they represent exists in many or most states, including Texas. The
federal government and those that worked there created mandates and rules that
effect all states.

73) Venue is proper pursuant to 28 U.S.C. 1391(b) because much of the
events giving rise to the allegations in this complaint occurred in this district. All
the airline defendants denied Plaintiff his civil rights by not allowing him to fly
through their airlines to and from Amarillo Airport, Texas, as they equally denied
him travel to and from every other City in the United States and beyond.

74) Venue is proper with regards to the federal agencies and their
employees, pursuant to 28 U.S. Code § 1391 (e) 1. “A civil action in which a
defendant is an officer or employee of the United States or any agency thereof acting
in his official capacity or under color of legal authority, or an agency of the United
States, or the United States, may, except as otherwise provided by law, be brought

in any judicial district in which (A) a defendant in the action resides, (B) a substantial

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part of the events or omissions giving rise to the claim occurred, or a substantial part
of property that is the subject of the action is situated...”

75) This Court has the authority to grant declaratory and injunctive relief
as well as monetary damages under the Declaratory Judgment Act and this Court’s
inherent powers. 28 U.S.C. §§ 2201 & 2202.

76) Plaintiff has standing to sue the defendants because they illegally
discriminated against him on the basis of his medical condition by denying him the
ability to fly without wearing a mask, and discriminating against him due to his
medical disability.

77) Defendants’ violations and actions caused Plaintiff to incur severe
financial losses, he was deprived of his civil rights, and suffered emotional damages,
among other losses.

78) Pendent Jurisdiction: Plaintiffs state-law claims are fully related to
those under which this Court has original jurisdiction that they form part of the same
case and controversy under Article III of the Constitution. The state-law claims share
common operative facts with the federal-law claims and the parties are identical.
Resolving both federal and state claims in a single action serves the interests of
judicial economy, convenience, consistency, and fairness to the parties.
Supplemental jurisdiction is therefore appropriate pursuant to 28 USC § 1367.

79) The two attorneys listed as defendants, Goldberg and Morel, and other

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attorneys to be added upon disclosure through discovery, are alleged by defendant
to have participated in the discrimination by assisting, advising, and instructing their
clients to perform the discriminatory acts described herein. While an attorney
normally cannot be sued for defending his/her client, they can certainly be sued if
they are complicit. For example, if an attorney gets a client off of a murder charge
and he leaves the court, and kills again, the attorney cannot be liable, unless he
provides the gun or participates in the murder itself. In this case, Plaintiff alleges
that these two attorneys directly participated in the discriminations.

80) As determined by many courts, and for example, as articulated by the
Supreme Court of Wisconsin, “We agree that in most cases, an attorney is immune
from liability to third parties based on the attorney's failure to perform a duty owed
to a client. However, failure to perform an obligation to a client is entirely distinct
from conduct that assists the client committing an unlawful act to the detriment of a
third party.” Tensfeldt v. Haberman, 319 Wis. 2d 329, 768 N.W.2d 641, 2009 WI
77 (2009) Wisconsin Supreme Court.

81) In this case, Plaintiff alleges that the attorneys in question assisted in
the communication of the discriminations, as they were an active participant in the
violations.

82) Defendants that are federal agencies and their staff are being sued for

their complicity in causing the damages by authorizing and promoting illegal
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mandates and illegal discrimination that caused the damages described herein, and
that will be presented during trial.

83) Defendants CDC and HHS are being sued for this Court to review their
actions and inactions in respect to Administrative Procedure Act laws (“APA”),
which this Court has the authority, and for their participation in the discrimination
and the conspiracy thereof.

84) JOINDER OF DEFENDANTS: Pursuant to Rule 20 of the Federal
Rules of Civil Procedure (a) 2, Defendants can be joined, “if (A) any right to relief
is asserted against them jointly, severally, or in the alternative with respect to or
arising out of the same transaction, occurrence, or series of transactions or
occurrences; and (B) any question of law or fact common to all defendants will arise
in the action. -

85) In this case, the Defendants all participated in the same and/or similar
discriminations being alleged by Plaintiff. While some causes of action may only
apply to certain defendants, ultimately, all defendants were part of the same alleged
conspiracy and violated much of the same laws, regulations, and statutes.

86) Theright to relief is asserted against them jointly, severally, and/or with
respect to or arising out of the same transaction, occurrence, or series of transactions
or occurrences.

87) Additionally, most of the questions of law that exist in this complaint
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are common to all defendants.

88) The U.S. Supreme Court said the following: “Under the Rules, the
impulse is toward entertaining the broadest possible scope of action consistent with
fairness to the parties; joinder of claims, parties and remedies is strongly
encouraged.” United Mine Workers of America v. Gibbs (1966) 383 U.S. 715, 724
[86 S.Ct. 1130, 1138, 16 L.Ed.2d 218]

89) Redress: A court order declaring unlawful and enjoining all
defendants’ illegal discrimination and violations, plus an award of compensatory
and punitive damages, where applicable, would redress Plaintiff's injuries. To the
bare minimum, an award of nominal damages can provide significant redress, as
the Supreme Court decided in 2021, “nominal damages can redress Uzuegbunam's
injury even if he cannot or chooses not to quantify that harm in economic terms.”

Uzuegbunam v. Preczewski, 141 S.Ct. 792, 802 (U.S., 2021).

STATEMENT OF FACTS
90) The NIH and Dr. Fauci funded “gain of function research” in a Chinese
laboratory in Wuhan, China, as admitted to publicly by Dr. Fauci.
91) This lab was working on various dangerous viruses, including COVID

type viruses.
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92) A virus leaked out from that lab causing most of the planet to get sick,
and caused the death of over 6 million people, as per statistics readily available on
the internet.

93) The Federal Bureau of Investigations (“FBI”) and the US Department
of Energy (“DOE”) both confirmed that a lab leak was the likeliest source of this
virus.

94) Dr. Fauci testified before the Senate and denied that the virus was a lab
leak, and Dr. Redfield confirmed publicly that Dr. Fauci lied before the Senate.

95) In order to slow the spread of the COVID-19 virus, on January 21,
2021, President Biden issued Executive Order 13998 (Exhibit 1), which directs the
heads of certain Federal agencies to take immediate actions to require mask-wearing
in domestic and international transportation.

96) This was in spite of all the studies and in spite of Dr. Fauci’s own public
statements, confirming then what we know now, that masks are almost useless in the
protection against Covid-19.

97) The new President promised the people that he would do a better job
than President Trump, and it seems that creating mask mandates, as useless as they
were, would show that he is keeping his campaign promises.

98) Inarecent piece in the New York Times (see

https://www.outkick.com/fauci-finally-admits-mask-mandates-dont-work/ ), Dr.

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Fauci admitted that, “““From a broad public-health standpoint, at the population
level, masks work at the margins — maybe 10 percent,”

99) On or about January 29, 2021, the CDC issued an order (Exhibit 2)
directing conveyance operators, which includes airlines, to use best efforts to ensure
that any person on the conveyance wears a mask when boarding, disembarking and
for the duration of travel.

100) Recognizing that there are specific instances when wearing a mask may

not be feasible, the CDC Order exempts several categories of persons from the mask

mandate, including “a person with a disability who cannot wear a mask, or who

cannot safely wear a mask because of the disability as defined by the Americans
with Disabilities Act (42 U.S.C. 12101 et seq.). The Americans with Disabilities Act
(ADA) defines a person with a disability to include a person who has a physical or
mental impairment that substantially limits one or more major life activities.

101) In that same CDC order, it put a footnote (#8) clarifying its guidance
with regards to disability exemptions. It says as follows: “Operators of conveyances

or transportation hubs may impose requirements, or conditions for carriage, on

persons requesting an exemption from the requirement to wear a mask, including

medical consultation by a third party, medical documentation by a licensed medical

provider, and/or other information as determined by the operator, as well as require

evidence that the person does not have COVID-19 such as a negative result from a

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SARS-CoV-2_ viral test_or documentation of recovery from COVID-19. CDC

definitions for SARS-CoV-2 viral test and documentation of recovery are available

in the Frequently Asked Questions at: https://www.cdc.gov/coronavirus/2019-

ncov/travelers/ testing-intemational-air-travelers.html. Operators may also impose

additional protective measures that improve the ability of a person eligible for

exemption to maintain social distance (separation from others by 6 feet), such as

scheduling travel at less crowded times or on less crowded conveyances, or seating

or otherwise situating the individual in a less crowded section of the conveyance or

transportation hub. Operators may further require that persons seeking exemption

from the requirement to wear a mask request an accommodation in advance.”

102) This footnote from the CDC is in direct contradiction to ACAA law as
described herein. The CDC is a federal agency, under the umbrella of the executive
branch. It does not have the authority to modify existing disability laws.

103) The Executive Branch would need to approach the Legislative Branch
to get them to introduce legislation. That would have never happened, so the CDC
took it upon itself on behalf of the President to bypass the legislative branch and
create their own legislation.

104) In Health Freedom Defense Fund, Inc. v. Biden (M.D. Fla. 2022), the
federal judge in Florida made this all clear, as we describe herein, but there was

never any question to begin with.
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105) In the months prior, in response to COVID-19, U.S. and foreign air
carriers generally have implemented their own policies requiring passengers to wear
masks onboard aircraft, even before the issuance of the Executive Order and the
CDC Order. Many carriers have adopted policies that expressly allowed “no
exceptions” to their own mask requirement other than for children under the age of
two. People with disabilities that could not wear masks were not permitted to fly, in
direct violation of the ACAA, which is a set of laws that makes it illegal for airlines

to discriminate against passengers because of their disability.

ACAA LAWS

106) The Air Carrier Access Act (““ACAA”) laws (from 382.17 to 382.35)
describe the following actions as discrimination:

a. 382.17 “May carriers limit the number of passengers with a disability
on a flight? As a carrier, you must not limit the number of passengers with a
disability who travel on a flight.”

b. 382.19 “May carriers refuse to provide transportation on the basis of
disability? As a carrier, you must not refuse to provide transportation to a passenger
with a disability... except... You may refuse to provide transportation to any

passenger on the basis of safety, as provided in 49 U.S.C. 44902. The 49 U.S.C.

44902 refers to safety issues such as someone who doesn’t consent to a TSA search

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of themselves or their items. They mention another scenario, which also refers to the
safety of the flight. Neither refers to wearing a mask. It then says you can refuse a
passenger who poses a “direct threat,” which is established law that requires a
significant risk, which also won’t apply in a case where there are no symptoms, and
especially this Applicant who has natural immunity.

C. 382.21 “May carriers limit access to transportation on the basis that a
passenger has a communicable disease or other medical condition?” You cannot,
unless, again, the person is determined to pose a direct threat.

d. 382.23 “May carriers require a passenger with a disability to provide a
medical certificate?” Essentially, you cannot require a medical certificate unless the
“medical condition is such that there is reasonable doubt that the individual can
complete the flight safely, without requiring extraordinary medical assistance during
the flight.” Also, if there’s a direct threat of a communicable disease.

e. 382.25 May a carrier require a passenger with a disability to provide
advance notice that he or she is traveling on a flight?” No, except in special
circumstances that do not apply here.

f. 382.33 ‘May carriers impose other restrictions on passengers with a
disability that they do not impose on other passengers?” No, except in special

circumstances that do not apply here.
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FEASIBILITY OF MASKS

107) Do masks actually stop the transmission of Covid? That’s the big
question that everyone is asking.

108) I don’t know more than anyone else, but I live my life with my eyes
and ears open most of the time.

109) Dr. Anthony Fauci and the entire federal government initially said “do
not go out and buy masks, as they’re meaningless. The virus particles are too
small, and they’! fly right through the masks.

110) There were barely any studies properly done, and peer reviewed,
showing benefits of masks in protecting against Covid-19 transmission. On the
contrary, the NIH published a study done in the early days of Covid (Exhibit 3)
showing the exact opposite. It showed no benefits from the masks.

111) It says, “Conclusions: There was no reduction in per-population daily

mortality, hospital bed, ICU bed, or ventilator occupancy of COVID-19-positive

patients attributable to the implementation of a mask-wearing mandate.”

112) I have seen over sixty studies prior to Covid where they determined
that masks were useless for SARS 1 and influenza, and possibly harmful.

113) Suddenly, within about a month and a half, after President Biden takes
over the presidency, the science changes drastically. Obviously, that is not the

case, but rather the science was misrepresented for political purposes.
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114) At that point the federal government and lots of people were
convinced that we all will die if we don’t all wear a mask. People told me I should
stay home till Covid is over. They didn’t understand how I would want to kill
everybody just because I want to leave my home. They thought I was so selfish.
They spread out this irrational and insane idea that if one person doesn’t wear a
mask, everybody dies.

115) The irrational unsubstantiated insane obsession with masks took over

the country and eventually the world. Ironically, having a mask on your chin with

your mouth and nose exposed was considered much safer than having no mask at

all. I would love to hear how they explain that science.

116) Real science and real math don’t lie. The original data that was relied
upon for not recommending masks was based on real scientific studies performed
on thousands of people. The science in combination with the math can give you
some real solid information. The information before Covid was real.

117) Ina deposition recently (see link in Exhibit 4 page 2), Dr. Fauci was
asked why he did not recommend masks initially for Covid. (Case No. 3:22-cv-
01213-TAD-KDM at THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF LOUISIANA; MONROE DIVISION).

118) He responded and said, “there was no evidence at the time or any

studies that showed outside of the medical environment, i.e., in a hospital or in an
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ICU, that masks actually worked in protecting transmission or acquisition.”

Q “Who'd you consult with about the efficacy of masks during that time

period? Who'd you talk to in the government about it?”

A”T don't recall who I spoke to.”

Q. “Did your opinion on masking change based on new information and new

scientific evidence that came forward?”

A “TI believe it did, yes.”

Q. “Were there placebo-based, randomized, double-blind studies of the

efficacy of masking that were done between February and April of 2020?”

A “I don't recall. I'd have to go back and take a close look at the literature. I

don't recall.”

He then continued to give him the “I don’t recall” responses. ABC News

counted and found that he said “I don’t recall” 174 times during this

deposition (Exhibit 4).

119) As you can see, and if you read through the entire deposition, which is
readily available online, you see that there was a two month or shorter period
where the federal government went from the statement that “masks are useless” to
a new position that “masks are the difference between life and death.” Yet, Dr.
Fauci who led that push on behalf of President Biden, could not think of any

studies that changed his mind. That is because there weren’t any such studies.
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120) DR. ROBERT REDFIELD, formerly the Director of the CDC,
testified in front of the senate waving his mask and saying, “this face mask is more
guaranteed to protect me against Covid than any Covid vaccine.” He was trying to
convince everyone that masks are the best protection, which was a lie, and in
saying that, he lied in front of the Senate.

121) I bring this up to make a point. The airlines make believe that what
they’re doing by discriminating against me is to keep their passengers safe. That is
an outright lie.

122) First, as described above, there’s no real evidence to date that the
typical cloth or surgical mask keeps anyone safer than without it. Even if some
masks do work somewhat, over 95% of the people wear the ones that were never
expected to work.

123) Second, the airlines themselves wrote a letter to President Biden
(Exhibit 5), signed by executives from several airlines listed here as defendants,
and sent from the airline association, Airlines for America.

124) They wrote the following:

“We supported the Centers for Disease Control and Prevention (CDC) as they
made some of these policies federal mandates and imposed additional measures,
like predeparture testing and vaccination requirements for international travelers,

in an to attempt to slow the introduction of variants into the United States.
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However, much has changed since these measures were imposed and they no
longer make sense in the current public health context....

Now is the time for the Administration to sunset federal transportation travel
restrictions — including the international predeparture testing requirement and the
federal mask mandate — that are no longer aligned with the realities of the current
epidemiological environment.”

125) This was signed by eight of the airlines listed here as defendants, and
an industry organization. I am confident that the rest of the airlines agreed with this
viewpoint.

126) Ifyou analyze this for a second, you realize that this makes no sense.
People are still contracting Covid and people are being hospitalized. Some are
even dying. What changed? Why were they suddenly recommending to stop the
whole mask mandate?

127) Is it just because the numbers went down, so we are figuring that we
can now open up the worst virus spreading environment and increase the
transmissions tenfold? This makes no sense.

128) The answer lies in that same letter. The airline industry leaders said
the following:

“Several studies completed before we had the added layer of widespread

availability of vaccines, including one from Harvard’s T.H. Chan School of Public

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Health and another from the U.S. Department of Defense, have concluded that an

airplane cabin is one of the safest indoor environments due to the combination of

highly filtered air and constant air flow coupled with the downward direction of the

”

air.

129) Yes, you read that correctly. “an airplane cabin is one of the safest

”
!

indoor environments!” Is this anew phenomenon? Did they rebuild the interiors of

all the airplanes and fix that virus transmission problem? Of course, not. We knew
this all along. They knew this all along. Harvard and U.S. Department of Defense
knew this all along. It was always the safest environment. These were studies that
were performed “before the vaccines.”

130) The letter continues to say, “It makes no sense that people are still

required to wear masks on airplanes, yet are allowed to congregate in crowded

restaurants, schools and at sporting events without masks, despite none of these

venues having the protective air filtration system that aircraft do.”

131) Yet, for some crazy reason, those same airlines that were making this_
strong argument to the President of the United States, that all the airplanes are
perfectly safe, those same airlines were telling poor, disabled, Aaron Abadi, that
due to his disability he cannot fly on their planes at all and/or without jumping
through hoops, because of the SAFETY OF THE OTHER PASSENGERS. You

can’t make this stuff up. It was clearly not for reasons of safety and/or health.
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ocument 3

132) In the CDC Appellate Brief, in its appeal to the 1 1th Circuit (available
on pacer; Case: 22-11287) on Health Freedom Defense Fund, Inc. v. Biden (M.D.
Fla. 2022), the CDC responds to the judge’s opinion as follows:

133) “As in Biden v. Missouri, there is no plausible contention that the
exceptions to the mask requirement render it useless in curbing the spread of
COVID-19. States that have imposed masking requirements in public spaces and
on public transit have included similar exceptions for children, persons with
disabilities, and activities like eating. See 86 Fed. Reg. at 8029 n.29 (citing a report

of state-by-state mask requirements). Moreover, the exceptions in the CDC’s

transportation mask order are tailored to minimize the risks of transmission. For

example, allowing people to remove their masks “for brief periods” when eating or

drinking and “temporarily” when unable to breathe, 86 Fed. Reg. at 8027 & n.7, is

consistent with the goal of reducing COVID-19 spread in transportation settings.”

134) In other words, according to the CDC, the purpose of the mask
mandate is NOT to completely stop transmission of Covid19, but rather to reduce
transmission and significantly mitigate the risks. The idea is that if most people

are wearing masks most of the time, we will have less transmission. Therefore, the

CDC is stating that exempting the disabled and allowing them to fly without

wearing a mask, does not impede its goals of the mask mandates, and will not

create a serious health crisis or direct threat.

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135) Ifthe goal was to avoid any transmission completely, there would be
no exceptions for children under 2-years old, no exemptions for the disabled who
cannot wear a mask, and no exception for eating or drinking. How could you eat
and drink, if you will thus kill someone. Don’t forget, direct threat is the criteria
where you can deny access to a disabled person, which is defined as a significant
risk, to be discussed below.

136) Built in to the CDC guidance and mandates were the exemptions for
people with this unique and rare disability that causes us not be able to wear a
mask. As the CDC argued in their Appellate Brief, this small number of people

flying without masks would have barely have effect on overall Covid transmission

numbers, if any at all.

137) As the District Judge explained in her ruling, if the issue was a direct
threat, and the CDC was quarantining everyone, and then only releasing those who
were no longer a direct threat, the process would be very different.

138) Clearly, from both the district judge and upon the argument of the
CDC themselves, the exemption of children under 2 years old, the exemption of
the disabled, and the exception during eating, drinking, and/or necessity for
breathing is not a hindrance to the mandate or the projected results of the mandates
purpose. All the parties are in agreement to this. The questions before the Circuit

Court is not about this, but rather if the CDC had the authority to mandate this to
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begin with, and/or if the mandates were arbitrary and capricious.

139) What the above shows is that there was no evidence to begin with that

masks help much, especially the most commonly used ones. The CDC in their

guidelines, regulations, and mandates did not believe that giving exemptions to

masking would be a direct threat to the rest of the plane. It also shows that the

evidence provided near the end of the mask mandates, by the airline industry

leaders, shows that there was never a dire need for masking at all; at least not for

health or safety purposes.

140) The excuses that the airlines have been giving that they are not
allowing me to fly because of health and safety reasons are not true, are not
rational, are not in conformance to the CDC guidance at all, and are not in touch

with their own position in that letter that the airlines sent to President Biden.

PLAINTIFF’S DISABILITY

141) Plaintiff has a disability, specifically sensory processing disorder, and
cannot wear a mask. His senses go into overload when he wears anything on his face
or head, including glasses, sunglasses, or a baseball cap. This is a permanent
condition that he had his entire life and will continue to have for the remainder of
his life. He carries around a doctor’s letter clarifying that he cannot wear a mask,

(Exhibit 6 is the Doctor’s letter and a redacted medical chart is Exhibit 7).

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142) For an unrelated case in Florida, Plaintiff's Neurologist, Dr. Cristina
Drafta, attested to Plaintiffs disability being severe enough that it meets the basic
and typically accepted definition of "disability" by ACAA, ADA, and any and all

State disability laws, as an impairment that substantially limits one or more major

life activities, The document attests to Plaintiff's multiple impairments of major life
activities due to his disability (Exhibit 8), and the severity thereof.

143) As per ADA guidelines and ACAA guidelines, which are almost
identical in this aspect, this Applicant should be exempt from wearing a mask. See
the ADA and Face Mask Policies Southeast ADA Center, where it clearly defines
the sensory disability, and states that such a person should be exempt (Exhibit 9).

144) In any case, sensory processing disorder, when activated, creating
sensory overload, it limits almost all major life activities, as the Applicant cannot
function, which fits the ACAA and ADA criteria of disability completely, and as
described in the Plaintiff's Neurologist’s letter.

145) In clarifying the definition of disability, ACAA 28 CFR § 36.105 (1)
says “Physical or mental impairment means: (i) Any physiological disorder or
condition, cosmetic disfigurement, or anatomical loss affecting one or more body
systems, such as: Neurological, musculoskeletal, special sense organs, respiratory
(including speech organs), cardiovascular, reproductive, digestive, genitourinary,

immune, circulatory, hemic, lymphatic, skin, and endocrine.”
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146) Plaintiff's disorder affects the body system related to the sense of touch,
specifically, and is included in the above definition of disability. Touch is the ability
to sense pressure, vibration, temperature, pain, and other tactile stimuli. These types
of stimuli are detected by mechanoreceptors, thermoreceptors, and nociceptors all
over the body, most noticeably in the skin. These receptors are especially
concentrated on the tongue, lips, face, palms of the hands, and soles of the feet. The
law recognizes that a disorder in the important sense of touch severely limits many
major life activities.

147) Applicant already had Covid in October 2020, as evidenced in the same
doctor’s letter, therefore without any symptoms, he would not pose a “direct threat”
to justify an airline to deny him access due to his disability, and thus his inability to
wear a mask.

148) The ACAA defines this term as follows: “Direct threat means a
significant risk to the health or safety of others...” (14 CFR § 382.3). Based on the
CDC own guidance that “Covid reinfection is rare,” and therefore there should not
be any direct threat for someone who already had Covid and thus has natural
immunity, without obvious symptoms. (Exhibit 10).

149) While the ACAA allows for airlines to deny passengers with disabilities
to fly, if they pose a direct threat, the DOT acknowledges that a person with a

disability that cannot wear a mask is not automatically considered a direct threat.
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This is evidenced by the attached DOT responses (Exhibit 11) that I finally received
regarding the DOT complaints, one from JetBlue and the other American, where the
airlines were each found in violation of the ACAA. If the airlines can say that there
was a direct threat, they would not be in violation. The DOT did not consider me a
direct threat in those two cases. There is no reason to believe that on any different
day I would be a direct threat automatically, without any obvious symptoms.

150) The Equal Employment Opportunity Commission (“EEOC”) also made
clear that a direct threat would be possible to consider only if the person had
Covid19, or had symptoms of Covidl19 (Exhibit 12). Besides, I would never
consider flying or going anywhere in public while I had Covid19 or such symptoms,

without proper testing and/or medical advice. I am not a selfish person.

DIRECT THREAT EXCEPTION

151) There is an exception in the ACAA where an airline can deny access if
there’s a “direct threat.” That exception would not apply here for many reasons.

152) First, if we were to say that a person without a mask is a direct threat,
and deny him access due to his disability, we would have to prove that those other
people that are obviously also a direct threat would now remove the risk significantly
enough by wearing a mask, that they will no longer be a direct threat. There is no

evidence of that, especially with regards to the typical cloth and surgical masks that
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the majority wear.

153) If for argument’s sake everyone is considered a direct threat, then if you
allow one person who is a direct threat with a mask, and do not allow a disabled
person who is also a direct threat without a mask, but with natural immunity, that’s
classic discrimination.

154) Second, The Equal Employment Opportunity Commission (“EEOC”)
themselves only consider a person a direct threat if they’re showing symptoms or
have Covid. id

155) Third, from the DOT’s own responses to the several complaints that
they responded to (as described above) they did not accept a direct threat excuse.
They found several of the airlines in violation, and others not in violation, but never
allowed them to give a blanket excuse that any and all people without masks are a
direct threat.

156) Fourth, the DOT demands that airlines begin allowing disabled people
to fly without masks, if that’s their disability issue. If every person without a mask
is a direct threat, why would they demand that? How can they make such a request?

157) Fifth, a direct threat evaluation must be based on an individualized
evaluation. The airlines are setting broad policies for all disabled, without looking at
anyone individually.

158) Sixth, a direct threat is a difficult bar to overcome. It says that in the
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ACAA laws in other words. You cannot just take the entire world and say everyone
is a direct threat. See the Pandemic Preparedness paper from the EEOC (mentioned
above). It says in there that even if a person has symptoms of a seasonal influenza,
you cannot therefore assume they have the pandemic and are a direct threat.

159) Seventh, this Plaintiff already had Covid as shown earlier. As per CDC
and all other studies and reports, Covid reinfection is rare. When you do an
individualized assessment, you will need to determine that a person that has natural
immunity without a mask has a lower risk of spreading Covid than another person
with a mask that never had Covid.

160) Eighth, none of these airlines even tried using this excuse. They said
things like “for the safety of the passengers,” and/or “the DOT/CDC/TSA authorized
us to create these rules.” They cannot authorize anything of the sort. They do not
have that authority.

161) Ninth, if a person without a mask is a direct threat, how can they allow
eating on the plane where the entire plane is maskless for about thirty minutes at a
time. If there’s a direct threat, which means a significant risk when a person isn’t
wearing a mask, how careless and negligent could they be to let out all that risk. Let
the people eat before the flight and right afterwards. No one should be allowed to
take off their masks during the flight at all.

162) Tenth, How can they allow children under two to fly without a mask.

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They must stay home if they are a direct threat. Yes, all the way in the beginning
we thought that children couldn’t carry the disease. We found out that we were
wrong. Do not allow any children under two on any flight, if you believe such a
situation, is a direct threat.

163) Eleventh, the CDC, TSA, DOT, and almost all (if not all) state and city
mandates in the United States list an exemption for people with disabilities who
cannot wear a mask. It is always listed immediately after the children-under-two
exemption. If we are all automatically a direct threat, how can all these agencies and
governments put the whole country in danger like that.

164) I can go on for days, but the obvious and clear outcome of these eleven
arguments show that people with disabilities who cannot wear a mask are not
automatically a direct threat. Without symptoms or some evidence to show the
existence of a higher risk of the disease than average, they must not be discriminated
against.

165) As shown earlier, the airline industry organization, with signatures
from some of the top airlines, many listed here as defendants, wrote a letter to the
President and the various government agencies. This letter requested that the mask
mandates be stopped on airplanes. They cited that they are no longer necessary, and
upon reading it carefully, you can see they never thought it necessary. Yet, many of

these same airlines were continuing to make believe that disabled people without

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masks still pose a threat, even after sending that letter. This is all so strange.

AIRLINES & THEIR STAFF’S DISCRIMINATIONS WITH THE

PARTICIPATION OF ALL THE DEFENDANTS

166) All the airline corporation defendants, airline personnel defendants,
and the attorney defendants refused to allow Plaintiff to access flights at all, and/or
unless he fulfilled unlawful requirements. They required this Plaintiff to provide
and/or perform special requirements that other passengers were not required.
These were in direct violation of ACAA laws as described above and as written in
the ACAA laws, and other laws and requirements as detailed in the causes of
action below.

167) The Federal Defendants, both those sued in official capacity and those
in individual capacity, caused the problems to begin with, provided guidance that
was politically driven and untrue, and encouraged, instructed, and aided and
abetted the airlines to do their discriminations.

168) The medical organization defendants assisted, facilitated, and
conspired together with the airlines to cause the same discrimination described.

169) The various exhibits attached hereto contain much of the requests to
the airlines, their requirements, demands, and/or blatant denials.

170) Some airlines required medical forms to be filled out with a doctor’s
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approval to fly, even though there was never a question if I can or cannot fly based

on my medical status. It is sensory processing disorder not a stroke or heart attack.

This is in violation of ACAA as mentioned above & below.
171) Others required Covid negative tests even though non-disabled

passengers do not have such a requirement. This is a violation of ACAA and many

other laws.

172) Any requirement that is unnecessary to protect for a direct threat, and
other passengers are not required to do it, is a violation of the ACAA and other
laws, as mentioned above and herein.

173) These airlines all discriminated against Plaintiff and those similarly
situated, without anyone stopping them.

174) Plaintiff loves to travel for pleasure, and needs to travel for his
income. Plaintiff was barred from traveling due to these violations of his civil
rights.

175) Very few airlines allowed Plaintiff to fly on their planes, leaving
Plaintiff mostly grounded for over two years.

176) These actions and inactions from all the defendants combined, were
the direct causes of Plaintiffs injuries described herein.

177) Many airlines will try to suggest, and some mentioned this to me

directly, “If you didn’t book a flight, then you cannot claim discrimination.”
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178) While I did book several flights initially, I stopped doing that, and
first talked to the airline to see if I was even going to have a chance. IfI were to
book flights with each airline in order to find out if they will discriminate or not, it
would be cost prohibitive. For example, over 50 airlines refused to allow me to fly
normally. Let’s assume that I booked a reservation on each airline at an average of
$1,000 each, that would equal $50,000. There’s no such requirement to book a
flight on an airline in order to find out if they will discriminate against you.

179) See Equal Rights Center v. Uber Technologies, Inc, where the court
clarifies this. If you look up the case, you will see multiple caselaw quoted by that
district judge. While in that case he was referring to ADA laws, the courts
normally carry that to ACAA and State disability laws, as long as the particular
laws do not have a statement to the contrary. It says the following:

“But in the context of the ADA, plaintiffs need not establish that they would have
otherwise actually or imminently visited and/or patronized a place with

accessibility barriers, because the ADA does not “require a person with a disability

to engage in a futile gesture if such person has actual notice that a person or

organization covered by [Title ITI of the ADA] does not intend to comply with its

provisions.” Equal Rights Center v. Uber Technologies, Inc. (D.D.C. 2021) 525

F.Supp.3d 62, 76,
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ADDITIONAL SPECIFIC FACTUAL ALLEGATIONS FOR EACH

DEFENDANT

AMERICAN AIRLINES

180) On January 24, 2021, defendant American denied Plaintiff access to
fly on their airline. Plaintiff has a recording of that conversation.

181) Plaintiff filed a complaint on that day to the DOT.

182) This complaint was responded to finally, on March 4", 2022, where
the DOT found that American violated the law (Exhibit 11). The DOT did nothing
about it, though. They made that clear in their response.

183) Plaintiff currently has an appeal filed with the DOT. It is over two
years since the specific violation happened, that was confirmed by DOT, and yet
no resolution, no enforcement action was taken or will be taken, as per DOT.

184) In that same response from DOT, they report that American claims to
have offered to allow me to travel. That is not accurate.

185) On November 8, 2021, Plaintiff tried again to fly with American, and
again was completely denied. See the correspondence attached (Exhibit 13).

186) In response to Plaintiff's later request (Exhibit 14), on or about
February 22, 2022, American made demands to require an updated doctor’s letter

and a Covid negative test in order to fly. According to ACAA, they cannot require
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things that are not required by other, non-disabled passengers, as that is
discrimination.

187) After that, on or about March 18, 2022, (Exhibit 15) there was further
correspondence between Plaintiff, American, and Roy Goldberg, an attorney
representing American. This correspondence confirmed their previous
discriminations as described.

188) Ironically, the CEO of American sent a letter to Biden and others in
the government, together with other industry leaders. In this letter (described
above), he describes how masks are unnecessary on airplanes these days, and asks

for the mask mandate to be repealed. It is dishonest for American on one hand to

say masks are unnecessary for all, and on the other hand, claim that they are

banning me, a disabled person, from traveling and/or making it difficult for me to

travel for health reasons.

189) I sent a letter to Roy Goldberg, and he claims to have forwarded it to
American. In that letter (Exhibit 16), I present the following question:

a. “T have attached a letter from the Airlines for America that was signed
by your client, American Airlines Chairman & CEO, W. Douglas Parker. In this
letter, your client posits that there is no longer a health or safety issue to justify
requiring passengers to wear masks, and asks the federal government to do away

with the mask mandates on airplanes completely. They write as follows: “Now is

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the time for the Administration to sunset federal transportation travel restrictions —
including the international predeparture testing requirement and the federal mask
mandate — that are no longer aligned with the realities of the current
epidemiological environment.” To this date your client is refusing to allow me to
fly with their airline, presumably due to health and safety concerns, unless I
perform processes or provide items that non-disabled passengers are not required
to perform and provide, in violation of ACAA law. As you are fully aware, I am of
the disabled class and cannot wear a mask due to my disability. The attached letter
clearly indicates that your client firmly believes that Aaron Abadi not wearing a
mask on a flight will not cause any health concerns, to a point where they are
lobbying to have all passengers be entitled to fly without a mask. Your client can
no longer claim that Aaron Abadi is a significant risk and must wear a mask. I will
ask you and your client one last time to fix this situation and provide me with a
confirmation without any conditions, stating that Aaron Abadi can fly with
American Airlines without wearing a mask, due to his disability. I look forward to

your quick response. Respectfully, Aaron Abadi.”

190) Goldberg responded saying, “Thank you Mr. Abadi. I will pass this
on to American Airlines.” That was on Wednesday, March 23, 2022. I never did

hear back from them.

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191) Their CEO says that the masks are no longer necessary, he confirms
that there is no significant risk, yet they won’t let me fly without certain
unnecessary and discriminatory requirements.

192) Not allowing me to fly, and then months later saying they will allow
me to fly under certain complicated conditions, which is not required for those who
are not disabled, is the definition of discrimination as described below in the
various causes of action. This Defendant discriminated against Plaintiff.

193) The discriminations described continued until the Honorable Kathryn
Kimball Mizelle, Federal Judge in Florida, ended the mask mandate for
transportation, by determining that it was arbitrary and capricious, and the CDC
exceeded its authority, amongst other issues. The case was Health Freedom
Defense Fund, Inc. v. Biden (M.D. Fla. 2022). This happened on April 18, 2022.
Most airlines ended the mask rules within several days.

194) This Defendant’s actions and/or inactions directly caused Plaintiffs
injuries.

AEROFLOT

195) I notified the airline with a copy of a doctor's letter attesting to my
inability to wear a mask. Additionally, the doctor's letter attests to the fact that I
already had Covid in 2020. CDC very clearly states that "Covid reinfection is

rare," and therefore, I do not pose a significant health risk.
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196) The airline emailed me on or about September 20, 2021 (Exhibit 17)
that I cannot fly with them without a mask.

197) This airline could have flown me to various countries where I could
have completed my business transactions.

198) Not allowing me to fly due to my disability and inability to wear a
mask is discrimination.

199) The discriminations described continued until the Honorable Kathryn
Kimball Mizelle, Federal Judge in Florida, ended the mask mandate for
transportation, by determining that it was arbitrary and capricious, and the CDC
exceeded its authority, amongst other issues. The case was Health Freedom
Defense Fund, Inc. v. Biden (M.D. Fla. 2022). This happened on April 18, 2022.
Most airlines ended the mask rules within several days.

200) This Defendant’s actions and/or inactions directly caused Plaintiff's
injuries.

AEROMEXICO

201) I notified the airline with a copy of a doctor's letter attesting to my
inability to wear a mask. Additionally, the doctor's letter attests to the fact that I
already had Covid in 2020. CDC very clearly states that "Covid reinfection is

rare," and therefore, I do not pose a health risk. The airline emailed me on or about

September 1, 2021, refusing to respond to my question, in other words not

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exempting me to fly.
202) On their website they had some specific requirements (Exhibit 18).
These were discriminatory, as non-disabled are not required to follow those rules.

203) We exchanged emails again on or about April of 2022 (Exhibit 19),

where they said straightforward that I cannot fly with them without a mask, unless

I follow a list of requirements that are unnecessary and only designed to keep me

from flying.

204) All regular non-disabled people can fly by just ordering a ticket online

and heading to the airport. This airline requires a special medical form filled out —

and signed by a doctor with a seal.

205) Those medical forms were intended for people who medical
conditions that might not be able to fly at all. Then the doctor must confirm that
they are approved to fly. They are using it for my scenario just to discourage me
from flying. Other people don't need Doctor's approving them to fly before each

flight. I usually fly in excess of 40 flights a year, so ] would need a Doctor on

payroll handling my paperwork. I cannot fly under such requirements. This is
unfair and it is discrimination.

206) Requiring medical forms when unnecessary, is a violation of the
ACAA, as described above.

207) Not allowing me to fly due to my disability, and then months later

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saying they will allow me to fly under certain complicated conditions, which is not
required for those who are not disabled, is the definition of discrimination as
described below in the various causes of action. This Defendant discriminated
against Plaintiff.

208) The discriminations described continued until the Honorable Kathryn
Kimball Mizelle, Federal Judge in Florida, ended the mask mandate for
transportation, by determining that it was arbitrary and capricious, and the CDC
exceeded its authority, amongst other issues. The case was Health Freedom
Defense Fund, Inc. v. Biden (M.D. Fla. 2022). This happened on April 18, 2022.
Most airlines ended the mask rules within several days.

209) This Defendant’s actions and/or inactions directly caused Plaintiffs
injuries.

ALLEGIANT

210) On or about September 1, 2021, I reached out by email to Allegiant,
letting them know about my disability, attaching a doctor’s letter confirming it, and
asking I can fly on their airliner without a mask, pursuant to ACAA laws, and other
disability laws.

211) Onor about September 3, 2021, Allegiant formally denied me access
to fly with their airline, to and from any destinations (Exhibit 20).

212) They wrote the following:
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“Thank you for contacting Allegiant regarding your request to fly without a mask.
As you know, the US Centers for Disease Control (the “CDC”) has issued an Order
which now legally requires masks to be worn by all persons traveling by air. (42
U.S.C. 264) That Order allows for only very narrow exceptions to the mask
requirement. Specifically, the Order states that air carriers are authorized to
provide an exception to the mask requirement for those whose physical disability
renders them unable to wear a mask, or those who are unable to remove their own
mask without assistance. The CDC Order further authorizes air carriers to
implement policies, procedures and requirements to comply with the new law.
Because safety for our passengers and crews is always Allegiant’s top priority, we
review and consider passenger requests to travel mask-free very carefully.
Unfortunately, Allegiant will not be able to honor your request to fly without a
mask because your circumstance does not fit within the very narrow category of
legally permitted exceptions.”

213) I then filed a DOT complaint against them.

214) In response to my DOT complaint against them, on or about
November 9, 2021, Allegiant wrote the following (Exhibit 21):
“On behalf of Allegiant, I am responding to the complaint you submitted to the
Department of Transportation (DOT) regarding a Face Mask Exemption. Allegiant
strives to provide an excellent experience for all of our customers and sincerely
regrets that you had a less than positive experience. As you know, the US Centers

for Disease Control (the “CDC”’) has issued an Order which now legally requires
masks to be worn by all persons traveling by air. (42 U.S.C. 264) That Order
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allows for only very narrow exceptions to the mask requirement. Specifically, the
Order states that air carriers are authorized to provide an exception to the mask
requirement for those whose physical disability renders them unable to wear a
mask, or those who are unable to remove their own mask without assistance. The
CDC Order further authorizes air carriers to implement policies, procedures and
requirements to comply with the new law. Because safety for our passengers and
crews is always Allegiant’s top priority, we review and consider passenger
requests to travel mask-free very carefully. Allegiant received a letter from Dr.
Yelena Karasina, dated December 3, 2020, requesting a Face Mask Exemption on
your behalf. The letter stated you are “suffering from extreme sensitivity,” but does
not state your “sensitivity” is a disability or qualifies as a disability. Within an
email, dated September 1, 2021, you identified yourself as a person with a
disability, citing “Sensory Integration Disorder.” The letter also states you have
“recovered from COVID, and is not contagious.” However, the letter does not
provide a date when COVID was diagnosed and the letter was written
approximately 9 months prior to your request for an exemption.”

“After careful review of the letter from Dr. Yelena Karasina, it was determined
Allegiant would not be able to honor your request to fly without a mask because
your circumstance does not fit within the very narrow category of legally permitted
exceptions. Sensory Integration Disorder is not a qualifying disability for a Face
Mask Exemption. As standard procedure, Allegiant offered a full refund if you
were unable to travel without a compliant Face Mask. However, Allegiant did not
have a record of an active reservation in your name.”

“According to ACAA Title 14 CFR Part 382 an air carrier must admit or deny a
violation to the DOT after receiving a written disability complaint. In this instance,
Allegiant will deny a violation when reporting to the DOT.”

215) The DOT reviewed the complaint and they did find them in violation
of the ACAA, on or about October 22, 2022, about a year later (Exhibit 22).

216) Unfortunately, as is the ongoing problem with the DOT, they have not
been enforcing anything, and they did nothing in this case.

217) Not allowing me to fly due to my disability and inability to wear a

mask is discrimination.
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218) The discriminations described continued until the Honorable Kathryn
Kimball Mizelle, Federal Judge in Florida, ended the mask mandate for
transportation, by determining that it was arbitrary and capricious, and the CDC
exceeded its authority, amongst other issues. The case was Health Freedom
Defense Fund, Inc. v. Biden (M.D. Fla. 2022). This happened on April 18, 2022.
Most airlines ended the mask rules within several days.

219) This Defendant’s actions and/or inactions directly caused Plaintiff's
injuries.

ASIANA

220) I notified Asiana with a copy of a doctor's letter attesting to my
inability to wear a mask. Additionally, the doctor's letter attests to the fact that I
already had Covid in 2020. CDC very clearly states that "Covid reinfection is
rare," and therefore, I do not pose a health risk. I asked if they will allow me to fly
with their airline without a mask.

221) The airline refuses to allow me to fly with them without a mask,
initially, by constantly ignoring my emails. I have been emailing them since on or
about Sept 1, 2021. Their response is constantly saying the following. "Thank you
for contacting Asiana Airlines Reservation Center, Regional Headquarters, the
Americas. We have received your email. It will be processed as soon as possible

and in the order it was received."

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222) They obviously received my email multiple times, but refuse to let me
fly, by totally ignoring me. This is frustrating and unfair. As a disabled person
they're required to accommodate me.

223) They did not allow me to fly due to my disability and inability to wear
a mask. This is blatant discrimination against me due to my disability. The emails
are attached (Exhibit 23).

224) Finally, I filed a complaint with the DOT, on or about October 29,
2021.

225) Asiana responded to that email (Exhibit 24), making it very clear
again that they will not allow me to fly.

226) They wrote the following, “We have determined that you are not
eligible for an exemption to Asiana’s generally applicable mask policy, which
currently requires masks or face coverings at all times during flights except at
mealtimes.”

227) They continued, “Based upon your correspondence and the doctor’s
letter, you requested an exemption due to a “sensory integration disorder” that
causes “an extreme sensitivity to touch, mostly in the area of [your] head.”
Notably, in discussing persons with disabilities who might be exempted from the

mask requirement based on factors specific to a person, the CDC discussed sensory

disabilities. Specifically, the CDC stated that a “person with a severe sensory

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disability” might be exempt if the person “would pose an imminent threat of harm
to themselves or others if required to wear a mask.” CDC, Disability Exemptions
of the Order. The CDC also specifically stated that “[p]ersons who experience
discomfort or anxiety while wearing a mask without imminent threat of harm
would not qualify for this exemption.” Id. Based on this guidance and your
doctor’s description of your disability, these guidelines indicate that you are not
eligible for an exemption.”

228) Their justification is wrong. As you can see from my doctors’ letters
and documents, I cannot wear a mask, period. This isn’t just a discomfort. The
law does not allow them to make medical decisions on my disability, especially
without their doctors ever talking to me or seeing me.

229) Their way of banning me from flying was by using this excuse, but
ultimately, they straight out denied me from flying.

230) Additionally, for about two months prior, they were totally ignoring
my emails, again, obviously because they didn’t want me flying.

231) Some airline personnel explained to me why airlines were giving me a
hard time. They said that other passengers would be upset and make a scene.
That’s not a good reason to deny passage due to a person’s disability.

232) I was not allowed to fly because I had a disability. I was mistreated

and treated differently than non-disabled people. This is discrimination.

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233) The discriminations described continued until the Honorable Kathryn
Kimball Mizelle, Federal Judge in Florida, ended the mask mandate for
transportation, by determining that it was arbitrary and capricious, and the CDC
exceeded its authority, amongst other issues. The case was Health Freedom
Defense Fund, Inc. v. Biden (M.D. Fla. 2022). This happened on April 18, 2022.
Most airlines ended the mask rules within several days.

234) This Defendant’s actions and/or inactions directly caused Plaintiff's
injuries.

AVIANCA

235) Inotified Avianca with a copy of a doctor's letter attesting to my
inability to wear a mask. Additionally, the doctor's letter attests to the fact that I
already had Covid in 2020. CDC very clearly states that "Covid reinfection is
rare," and therefore, I do not pose a health risk. I asked if they will allow me to fly
with their airline without a mask.

236) The airline refused to allow me to fly with them without a mask,
initially, by constantly ignoring my emails. I have been emailing them since on or
about Sept 1, 2021. They did not respond for about a month.

237) They obviously received my email multiple times, but refuse to let me
fly, by totally ignoring me. This is frustrating and unfair. As a disabled person

they're required to accommodate me. This is blatant discrimination against me due
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to my disability. The emails are attached (Exhibit 25).

238) Finally, on or about October 3, 2021, Avianca responded with a letter
(Exhibit 26), making it very clear that they will not allow me to fly.

239) They wrote the following, “After reviewing the document presented
by you; Avianca concludes that the letter is not sufficient, to accept an exemption
to the face mask policy, especially as document does not include information about
his itinerary to confirm if there is no local regulation demanding to wear a mask as
no exemption.”

240) Their reasoning is wrong, and barely understandable. As you can see
from my doctors’ letters and documents, I cannot wear a mask, period. This isn’t
just a discomfort. The law does not allow them to make medical decisions on my
disability, especially without their doctors ever talking to me or seeing me.

241) Their way of banning me from flying was by using this excuse, but
ultimately, they straight out denied me from flying.

242) Additionally, for about one month prior, they were totally ignoring my
emails, again, obviously because they didn’t want me flying.

243) They know which countries they fly to. If they wanted to suggest that
there’s a country that doesn’t allow mask exemptions, let them point those out. I’m
sure that they are wrong about that, but if not, I can avoid those countries. I

needed to get to and from India, Cyprus, Switzerland, United Kingdom, and

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several other places. If I cannot go through one country, then I would have picked
another.

244) It has been my experience that foreign countries treated me
wonderfully, with care, empathy, and respectfully. It is very sad that my own
country had some strange political bias when it came to masks, to a point that
they’!l mistreat the disabled to prove their idiotic point.

245) I was not allowed to fly because I had a disability. I was mistreated
and treated differently than non-disabled people. This is discrimination.

246) The discriminations described continued until the Honorable Kathryn
Kimball Mizelle, Federal Judge in Florida, ended the mask mandate for
transportation, by determining that it was arbitrary and capricious, and the CDC
exceeded its authority, amongst other issues. The case was Health Freedom
Defense Fund, Inc. v. Biden (M.D. Fla. 2022). This happened on April 18, 2022.
Most airlines ended the mask rules within several days.

247) This Defendant’s actions and/or inactions directly caused Plaintiff s

injuries.

AZUL
248) On or about September 1, 2021, I notified Azul with a copy ofa

doctor's letter attesting to my inability to wear a mask. Additionally, the doctor's
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letter attests to the fact that I already had Covid in 2020. CDC very clearly states
that "Covid reinfection is rare," and therefore, I do not pose a health risk. I asked if
they will allow me to fly with their airline without a mask.

249) The airline refused to allow me to fly with them without a mask,
initially, by constantly ignoring my emails. I have been emailing them since on or
about Sept 1, 2021. They did not respond for about 2 months.

250) They obviously received my email multiple times, but refuse to let me
fly, by totally ignoring me. This is frustrating and unfair. As a disabled person
they're required to accommodate me. This is blatant discrimination against me due
to my disability. The emails are attached (Exhibit 27).

251) Finally, on or about October 3, 2021, Azul responded with a few
words, saying, “Hello Aaron, we received your request, I've try to contact you at
516-639-4100 do you have another number that we can contact you?”

252) I gave them my number, I kept trying to reach them, but to no avail.

253) On December 13, 2021, they finally responded (Exhibit 28). They
wrote the following:

“Regarding your claim about the boarding request without the mask or face shield
due to your medical disability, the sensory integration disorder:
custumers within the autism spectrum, intellectual disability or sensory integration

disorder that prevent them from properly using a face mask
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must present at check-in: the passport; the medical certificate/declaration
informing about the special health condition, or the medical certificate/declaration
for exemption from the use of a mask.”

254) Now, initially, that may sound like they’re finally willing to allow me
to fly. That is not the case. Several times when airlines said this, I naively booked
the ticket, packed my bags, and went to the airport with my doctor’s letter. They
never let me on.

255) Ialready sent them a doctor’s letter and my information about my
disability. If they were willing to allow me to fly, they could have responded to
my emails, and they could have told me that we will allow you to fly. There should
be no need for excessive paperwork and interviews. They can say very simply, yes,
you can fly. I would bring that email with me to the airport.

256) Each airline had different games to not allow me to fly, but to make
believe they’re being caring and reasonable. I think British Airways took the cake
on that, but Delta was a close second.

257) Their way of banning me from flying was by using this excuse, but

ultimately, they straight out denied me from flying.

258) Additionally, for over two months prior, they were totally ignoring my

emails, again, obviously because they didn’t want me flying.

259) I was not allowed to fly because I had a disability. I was mistreated

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and treated differently than non-disabled people. This is discrimination.

260) The discriminations described continued until the Honorable Kathryn
Kimball Mizelle, Federal Judge in Florida, ended the mask mandate for
transportation, by determining that it was arbitrary and capricious, and the CDC
exceeded its authority, amongst other issues. The case was Health Freedom
Defense Fund, Inc. v. Biden (M.D. Fla. 2022). This happened on April 18, 2022.
Most airlines ended the mask rules within several days.

261) This Defendant’s actions and/or inactions directly caused Plaintiff's
injuries.

AUSTRIAN

262) I notified the airline with a copy of a doctor's letter attesting to my
inability to wear a mask. Additionally, the doctor's letter attests to the fact that I
already had Covid in 2020. CDC very clearly states that "Covid reinfection is
rare," and therefore, I do not pose a health risk.

263) The airline emailed me on or about September 2, 2021 (Exhibit 29),
that I cannot fly with them without a mask, unless I follow a list of requirements
that are unnecessary and only designed to keep me from flying. All regular normal
people can fly by just ordering a ticket online and heading to the airport.

264) This airline responded as follows: "If passengers cannot wear a mask

for health reasons, they must present a negative Covid-19 PCR test that is not older
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than 48 hours at the scheduled start of the journey and a medical certificate on an
Austrian Airlines form."

265) Although they were nice about it, they made an unnecessary hardship
for me. The Medical form is for people that have medical issues that need a
doctor’s approval to fly. Sensory processing disorder is a sensory issue, not a
medical issue that would affect my ability to fly. They know that. They use the
Medical form to impede my flying. I already had Covid. It's in the Doctor's letter.
CDC says Covid reinfection is rare.

266) These precautions are not designed to protect the other passengers, but
rather are designed to make it difficult enough for me that they hope I'll stay home
or try another airline.

267) All normal regular people without disabilities get to just book a flight
and hop on a plane, as I have always done before Covid. Someone like me, who
has a disability and therefore cannot wear a mask, is made to jump through hoops
in order to hopefully get to fly. This is discrimination.

268) I fly over 40 flights each year. I normally book my flights a few hours
before I fly. Most other people can do that now.

269) I would need my own personal physician to fill out forms for me
every several days in order to accommodate such requests.

270) It should be very simple. I send them my Doctor's letter clarifying that
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I have a sensory issue and CANNOT wear a mask or face shield, and that should
be the end of it. This does not need to be rewritten right before each flight.

271) This is a permanent disability, and everyone knows that. Maybe the
reason for creating this jumping-through-hoops scenario, is to discourage fakers
from lying and playing games. That is their problem. I'm the one that suffers.

272) Anyway, I don't think that real Doctor's would sign letters that are

lies. Let them investigate those that they are skeptical of. I shouldn't have to suffer.

This is frustrating and unfair. As a disabled person they're required to
accommodate me. This is blatant discrimination against me due to my disability.

273) The DOT made it very clear to all the airlines that they must honor
such exemptions, but seemingly this airline does not care.

274) The discriminations described continued until the Honorable Kathryn
Kimball Mizelle, Federal Judge in Florida, ended the mask mandate for
transportation, by determining that it was arbitrary and capricious, and the CDC
exceeded its authority, amongst other issues. The case was Health Freedom
Defense Fund, Inc. v. Biden (M.D. Fla. 2022). This happened on April 18, 2022.
Most airlines ended the mask rules within several days.

275) This Defendant’s actions and/or inactions directly caused Plaintiff's
injuries.

AIR CANADA

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276) I notified Air Canada with a copy of a doctor's letter attesting to my
inability to wear a mask. Additionally, the doctor's letter attests to the fact that I
already had Covid in 2020. CDC very clearly states that "Covid reinfection is
rare," and therefore, I do not pose a health risk. I asked if they will allow me to fly
with their airline without a mask.

277) The airline refused to allow me to fly with them without a mask,
initially, by constantly ignoring my emails. I have been emailing them since on or
about Sept 1, 2021. They did not respond for over two months.

278) They obviously received my email multiple times, but refuse to let me
fly, by totally ignoring me. This is frustrating and unfair. As a disabled person
they're required to accommodate me. This is blatant discrimination against me due
to my disability. The emails are attached (Exhibit 30).

279) When they responded initially, on November 9, 2021, they just wrote
the following, “We appreciate your feedback. You can rest assured that an Air
Canada representative will get back to you as soon as possible. Thank you for your
patience as you wait to hear from us.” That was just gaslighting.

280) They finally responded on or about November 12, 2021, only after I
filed a complaint with the DOT. As expected, they were not satisfied with my
doctor’s letter and were playing games like most of the other airlines.

281) They wrote as follows:

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“According to the US Department of Transportation’s Rule on “Non-
Discrimination on the Basis of Disability in Air Travel” (14 CFR Part 382), Air
Canada is able to request that a passenger provide us with a Medical Certificate
completed by their physician when there is medical reasonable doubt that the
passenger can complete the flight safely without requiring extraordinary assistance
during the flight.
The above said, you provided Air Canada with a doctor’s letter - which is not
sufficient. The Air Canada mask exemption medical certificate must be completed
—at
https://www.aircanada.com/content/dam/aircanada/portal/documents/PDF/en/covid
medical-certificate-en.pdf. Once that has been submitted, the MEDA desk will
review and advise if the mask exemption is approved. As well, there is a
requirement to provide a negative COVID-19 test; the test must be taken within 72
hours of each flight departure.”

282) They know that sensory processing disorder has no effect on my
ability to fly. It is against ACAA law to request the medical certificate.

283) The other demands were certainly unnecessary and requirements that
the non-disabled were not required to perform and provide. As is the same with
most other airlines, the useless unnecessary demands are set up to impede my

ability to fly anywhere.

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284) This is straightforward discrimination against me due to my disability.

285) The DOT made it very clear to all the airlines that they must honor
such exemptions, but seemingly this airline does not care.

286) The discriminations described continued until the Honorable Kathryn
Kimball Mizelle, Federal Judge in Florida, ended the mask mandate for
transportation, by determining that it was arbitrary and capricious, and the CDC
exceeded its authority, amongst other issues. The case was Health Freedom
Defense Fund, Inc. v. Biden (M.D. Fla. 2022). This happened on April 18, 2022.
Most airlines ended the mask rules within several days.

287) This Defendant’s actions and/or inactions directly caused Plaintiff's
injuries.

AIR CHINA

288) I notified Air China with a copy of a doctor's letter attesting to my
inability to wear a mask. Additionally, the doctor's letter attests to the fact that I
already had Covid in 2020. CDC very clearly states that "Covid reinfection is
rare," and therefore, I do not pose a health risk.

289) The airline emailed me that I should call the U.S. office, which I did.
The U.S. office of Air China told me that I cannot fly with them without a mask. I

recorded this call (in a state where that is legal). This is frustrating and unfair.

290) Asa disabled person they're required to accommodate me. This is

